     Case 2:13-cr-00096-RHW             ECF No. 1177        filed 10/12/17      PageID.3897 Page 1 of 2
 PROB 12C                                                                            Report Date: October 12, 2017
(6/16)
                                                                                                FILED IN THE
                                       United States District Court                         U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT OF WASHINGTON


                                                       for the                         Oct 12, 2017
                                                                                           SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Kimberly Lee Fawver                      Case Number: 0980 2:13CR00096-RHW-1
 Address of Offender: Spokane County Jail
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: January 23, 2014
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349; Aggravated Identity Theft, 18
                          U.S.C. § 1028A;
 Original Sentence:       Prison - 48 months                Type of Supervision: Supervised Release
                          TSR - 60 months
 Asst. U.S. Attorney:     Timothy J. Ohms                   Date Supervision Commenced: November 25, 2016
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: November 24, 2021

                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 10/06/2017.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            4           Special Condition # 21: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                        November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                        judgement, acknowledging an understanding of the conditions imposed by the Court, which
                        included special condition number 21, as noted above. She was directed to abstain from the
                        use of illegal controlled substances and to submit to drug testing.

                        Ms. Fawver violated the terms of her supervised release on or about October 9, 2017, by
                        consuming marijuana and methamphetamine.

                        On October 9, 2017, Ms. Fawver reported to the Washington State Department of
                        Corrections (WADOC). She submitted to a urinalysis test, which tested presumptive positive
                        for methamphetamine. Ms. Fawver denied use and the sample was sent to the lab for
                        additional testing.
    Case 2:13-cr-00096-RHW             ECF No. 1177         filed 10/12/17      PageID.3898 Page 2 of 2
Prob12C
Re: Fawver, Kimberly Lee
October 12, 2017
Page 2

                       Due to ongoing noncompliance issues, WADOC placed Ms. Fawver into custody. Spokane
                       County Jail staff required Ms. Fawver be taken to a hospital to be medically cleared for
                       acceptance into their facility. A toxicology screening was completed on Ms. Fawver while
                       she was at the hospital. The toxicology report confirmed a presence of methamphetamine
                       and marijuana Ms. Fawver admitted to WADOC that she consumed marijuana, but
                       continued to deny methamphetamine use.



It is respectfully recommended that the Court incorporate the violation(s) contained in this petition in all future
proceedings with the violation(s) previously reported to the Court.


                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:      October 12, 2017
                                                                              s/Melissa Hanson
                                                                              Melissa Hanson
                                                                              U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [X]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                              Signature of Judicial Officer

                                                                                     October 12, 2017
                                                                              Date
